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 Fill in this information to identify the case:

 Debtor name         Foodspace Technology, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)          22-10884
                                                                                                                                                          Check if this is an
                                                                                                                                                             amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                             12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim            Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $9,458.00     $9,458.00
           Internal Revenue Service                                  Check all that apply.
           Centralized Insolvency Operation                           Contingent
           P. O. Box 7346                                             Unliquidated
           Philadelphia, PA 19101-7346                                Disputed
           Date or dates debt was incurred                           Basis for the claim:
           12/31/2020                                                Tax debt
           Last 4 digits of account number 4065                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                        $959.00
           Amazon Web Services                                                      Contingent
           410 Terry Avenue North                                                   Unliquidated
           Seattle, WA                                                              Disputed
           Date(s) debt was incurred 03/01/2022
                                                                                   Basis for the claim: Service fees
           Last 4 digits of account number 1606
                                                                                   Is the claim subject to offset?      No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                   $15,000.00
           Ambika Subramaniam                                                       Contingent
           4725 Lake Villa Drive                                                    Unliquidated
           Metairie, LA 70002                                                       Disputed
           Date(s) debt was incurred 04/02/2021
                                                                                   Basis for the claim: SAFE (Simple Agreement for Future Equity)
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?      No  Yes



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 Debtor       Foodspace Technology, Inc.                                                              Case number (if known)            22-10884
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 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $60,192.00
          Aquiva Labs                                                         Contingent
          52 Riley Rd. #522                                                   Unliquidated
          Kissimmee, FL 34747                                                 Disputed
          Date(s) debt was incurred 11/30/2021
                                                                             Basis for the claim: Service Fees
          Last 4 digits of account
          number Foodspace Technology                                        Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,000.00
          Barry J. Coffman, Revocable Trust                                   Contingent
          837 Great Plain Ave                                                 Unliquidated
          Needham, MA 02492                                                   Disputed
          Date(s) debt was incurred 2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,000.00
          Berwind-Shappy Investments, LLC                                     Contingent
          PO Box 750                                                          Unliquidated
          Groton, MA 01449                                                    Disputed
          Date(s) debt was incurred 02/15/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $225,000.00
          Berwind-Shappy Investments, LLC                                     Contingent
          PO Box 750                                                          Unliquidated
          Groton, MA 01450                                                    Disputed
          Date(s) debt was incurred 06/03/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,000.00
          Berwind-Shappy Investments, LLS                                     Contingent
          87 Great Plain Ave.                                                 Unliquidated
          Needham, MA 02492                                                   Disputed
          Date(s) debt was incurred 06/02/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $37,809.90
          Boston AI, LLC                                                      Contingent
          9 Steven Ln.                                                        Unliquidated
          Medfield, MA 02052                                                  Disputed
          Date(s) debt was incurred 03/03/2022
                                                                             Basis for the claim: Service fees
          Last 4 digits of account
          number Foodspace Technology                                        Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $82,015.95
          Brex                                                                Contingent
          12832 Frontrunner Blvd., Suite 500                                  Unliquidated
          Draper, UT 84020                                                    Disputed
          Date(s) debt was incurred 1/22/22 to 2/26/22
                                                                             Basis for the claim: Credit card
          Last 4 digits of account
          number Foodspace Technology, LLC                                   Is the claim subject to offset?    No  Yes




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 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          C.J.B. III 2006 Trust                                               Contingent
          447 Beacon St, #2                                                   Unliquidated
          Boston, MA 02115                                                    Disputed
          Date(s) debt was incurred 02/5/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,499.73
          Catherine Yaghsizian                                                Contingent
          573 Steele Rd.                                                      Unliquidated
          Boston, MA 02115                                                    Disputed
          Date(s) debt was incurred 04/01/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,000.00
          Charles J. Brucato III                                              Contingent
          447 Beacpn St., #2                                                  Unliquidated
          Boston, MA 02115                                                    Disputed
          Date(s) debt was incurred 10/04/2021
                                                                             Basis for the claim: Loan
          Last 4 digits of account
          number Foodspace Technology                                        Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,210.56
          Chase                                                               Contingent
          P.O. Box 15123                                                      Unliquidated
          Wilmington, DE 19850-5123                                           Disputed
          Date(s) debt was incurred February 2022
                                                                             Basis for the claim: Overdraft
          Last 4 digits of account number 8639
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,375.00
          CompEAP                                                             Contingent
          2 Mount Royal Ave, Suite 480                                        Unliquidated
          Marlborough, MA 01752                                               Disputed
          Date(s) debt was incurred 01/12/2022
                                                                             Basis for the claim: Service fees
          Last 4 digits of account number Foodspace
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $75,000.00
          Concordia Partners                                                  Contingent
          130 Warren St.                                                      Unliquidated
          Brookline, MA 02445                                                 Disputed
          Date(s) debt was incurred 06/18/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Dan Powdermaker 2020                                                Contingent
          119 Lincoln st.                                                     Unliquidated
          Newton Highlands, MA 02461                                          Disputed
          Date(s) debt was incurred 07/12/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Foodspace Technology, Inc.                                                              Case number (if known)            22-10884
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 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Daniel and Julie Stevenson                                          Contingent
          307 Smith Neck Rd. S.                                               Unliquidated
          South Dartmouth, MA 02748                                           Disputed
          Date(s) debt was incurred 06/14/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $664.50
          Ensemble IQ Inc                                                     Contingent
          29475 Network Place                                                 Unliquidated
          Chicago, IL 60673                                                   Disputed
          Date(s) debt was incurred 11/11/2021
                                                                             Basis for the claim: Services
          Last 4 digits of account number 3782
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $250,000.00
          Finistere Ventures, LLC                                             Contingent
          250 Cambridge Ave, Ste. 104                                         Unliquidated
          Redwood City, CA 94062                                              Disputed
          Date(s) debt was incurred 10/13/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,000.00
          Fund1, a series of huntington Avenue Ven                            Contingent
          PO Box 3217                                                         Unliquidated
          Seattle, WA 98114                                                   Disputed
          Date(s) debt was incurred 05/19/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,305.00
          Google                                                              Contingent
          1600 Amphitheatre Parkway                                           Unliquidated
          Mountain View, CA 94043                                             Disputed
          Date(s) debt was incurred 03/01/2022
                                                                             Basis for the claim: Service fees
          Last 4 digits of account number 34E8
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          GSI US                                                              Contingent
          Department 781271                                                   Unliquidated
          PO Box 78000                                                        Disputed
          Detroit, MI 48278-1271
                                                                             Basis for the claim: Service fees
          Date(s) debt was incurred 02/08/222
          Last 4 digits of account number 7512                               Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $262.00
          Guideline                                                           Contingent
          1645 E. 6th St., Sutie 200                                          Unliquidated
          Austin, TX 78702                                                    Disputed
          Date(s) debt was incurred 03/10/2022
                                                                             Basis for the claim: Unpaid 401k distributions
          Last 4 digits of account number H286
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Foodspace Technology, Inc.                                                              Case number (if known)            22-10884
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 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $405.00
          Gusto                                                               Contingent
          525 20th Street                                                     Unliquidated
          San Francisco, CA 94107                                             Disputed
          Date(s) debt was incurred 03/10/2022
                                                                             Basis for the claim: Payroll taxes/benefits
          Last 4 digits of account number 2203
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,000.00
          Hamid Onifade                                                       Contingent
          209 E 121th St.                                                     Unliquidated
          New York, NY 10035                                                  Disputed
          Date(s) debt was incurred 12/10/2020
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,836.16
          Hamid Onifade                                                       Contingent
          210 E. 121th St., Apt. 9 E                                          Unliquidated
          New York, NY 10035                                                  Disputed
          Date(s) debt was incurred 05/01/2018
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,578.08
          Hamid Onifade                                                       Contingent
          210 E 121th St., Apt. 9 E                                           Unliquidated
          New York, NY 10035                                                  Disputed
          Date(s) debt was incurred 02/01/2019
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,948.00
          Hamilton, Brook, Smith & Teynolds, P.C.                             Contingent
          530 Virginia Rd.                                                    Unliquidated
          PO Box 9133                                                         Disputed
          Concord, MA 01742-9133
                                                                             Basis for the claim: Service fees
          Date(s) debt was incurred 10/25/2021
          Last 4 digits of account number 5838                               Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $855.93
          Hubspot, Inc.                                                       Contingent
          PO Box 419842                                                       Unliquidated
          Boston, MA 02241-9842                                               Disputed
          Date(s) debt was incurred 02/01/2022
                                                                             Basis for the claim: Service Fees
          Last 4 digits of account number Foodspace
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,896.12
          Jeff Kolker                                                         Contingent
          6704 Kerns Rd.                                                      Unliquidated
          Falls Church, VA 22042                                              Disputed
          Date(s) debt was incurred 02/07/2018
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Joan Goldberg                                                       Contingent
          192 Commonwealth Ave., #3                                           Unliquidated
          Boston, MA 02116                                                    Disputed
          Date(s) debt was incurred 02/23/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Joan Goldberg                                                       Contingent
          193 Commonwealth Ave, #3                                            Unliquidated
          Boston, MA 02116                                                    Disputed
          Date(s) debt was incurred 06/22/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,000.00
          Joel Warady                                                         Contingent
          2430 Payne St.                                                      Unliquidated
          Evanston, IL 60201                                                  Disputed
          Date(s) debt was incurred 04/25/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,000.00
          Juno Equity, LLC                                                    Contingent
          78 Montgomery St.                                                   Unliquidated
          Boston, MA 02116                                                    Disputed
          Date(s) debt was incurred 11/19/2020
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,000.00
          Kathy Kong                                                          Contingent
          10606 Melvich Lane                                                  Unliquidated
          Dublin, CA 94568                                                    Disputed
          Date(s) debt was incurred 07/07/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Keith Orlowski                                                      Contingent
          29 Peral                                                            Unliquidated
          Charlestown, MA 02129                                               Disputed
          Date(s) debt was incurred 12/10/2020
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,672.33
          Kevin Huestis                                                       Contingent
          100 Landsdowne St., Apt. 1207                                       Unliquidated
          Cambridge, MA                                                       Disputed
          Date(s) debt was incurred 05/01/2018
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Keystone Partners, LLC                                              Contingent
          125 Summer St., Suite 1020                                          Unliquidated
          Boston, MA 02111                                                    Disputed
          Date(s) debt was incurred 11/18/2021
                                                                             Basis for the claim: Service fees
          Last 4 digits of account number Foodspace
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Kezar Ventures                                                      Contingent
          8 Barnstable Rd.                                                    Unliquidated
          Natick, MA 01760                                                    Disputed
          Date(s) debt was incurred 10/22/2020
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Kung Family Office, LLC                                             Contingent
          168 Brattle St.                                                     Unliquidated
          Cambridge, MA 02138                                                 Disputed
          Date(s) debt was incurred 01/12/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Little Bird Boston Marketing & PR                                   Contingent
          7 Wadsworth St.                                                     Unliquidated
          Danvers, MA 01923                                                   Disputed
          Date(s) debt was incurred 01/03/2022
                                                                             Basis for the claim: Service fees
          Last 4 digits of account number Foodspace
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,500.00
          Majrorie Radlo-Zandi                                                Contingent
          8 Bryant Rd.                                                        Unliquidated
          Lexington, MA 02420                                                 Disputed
          Date(s) debt was incurred 01/05/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $26,084.93
          Marcia Oshinaike                                                    Contingent
          2220 Quincy St. NE                                                  Unliquidated
          Washington, DC 20018                                                Disputed
          Date(s) debt was incurred 05/01/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,750.00
          MetaWell Consulting, LLC                                            Contingent
          509 Mill Rd                                                         Unliquidated
          Havertown, PA 19083                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Service Fees
          Last 4 digits of account number 0331
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Foodspace Technology, Inc.                                                              Case number (if known)            22-10884
              Name

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,928.60
          Montana Fredrick                                                    Contingent
          3963 W. Belmont Ave, Unit 111                                       Unliquidated
          Chicago, IL 60618                                                   Disputed
          Date(s) debt was incurred 01/12/2022
                                                                             Basis for the claim: Service fees
          Last 4 digits of account number Foodspace
                                                                             Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,000.00
          Nielsen Consumer. LLC                                               Contingent
          PO Box 88956                                                        Unliquidated
          Chicago, IL 60695-8956                                              Disputed
          Date(s) debt was incurred 08/30/2021
                                                                             Basis for the claim: Service Fees
          Last 4 digits of account number 4302
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Ousiders Fund, L.P.                                                 Contingent
          50 Day St.                                                          Unliquidated
          Norwalk, CT 06854                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $750,000.00
          Outsiders Fund, L.P.                                                Contingent
          50 Day St.                                                          Unliquidated
          Norwalk, CT 06854                                                   Disputed
          Date(s) debt was incurred 10/13/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $730.80
          Paro                                                                Contingent
          343 W. Erie St., Suite 600                                          Unliquidated
          Chicago, IL 60654                                                   Disputed
          Date(s) debt was incurred 12/31/2022
                                                                             Basis for the claim: Service fees
          Last 4 digits of account number Foodspace
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,000.00
          Paul Henderson                                                      Contingent
          2 Shipyard Lane                                                     Unliquidated
          Mattapoisett, MA 02739                                              Disputed
          Date(s) debt was incurred 11/25/2020
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,000.00
          Paul Henderson                                                      Contingent
          3 Shipyard Lane                                                     Unliquidated
          Mattapoisett, MA 02739                                              Disputed
          Date(s) debt was incurred 06/10/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Foodspace Technology, Inc.                                                              Case number (if known)            22-10884
              Name

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,000.00
          Peter Rait                                                          Contingent
          72 Beacon St.                                                       Unliquidated
          Boston, MA 02108                                                    Disputed
          Date(s) debt was incurred 12/9/2020
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,000.00
          Peter Rait                                                          Contingent
          72 Beacon St.                                                       Unliquidated
          Boston, MA 02108                                                    Disputed
          Date(s) debt was incurred 12/18/2020
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,546.00
          Polsinelli                                                          Contingent
          One International Place, Suite 3900                                 Unliquidated
          Boston, MA 02110                                                    Disputed
          Date(s) debt was incurred 02/23/2022
                                                                             Basis for the claim: Service fees
          Last 4 digits of account number 5904
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,000.00
          R. Douglas Murphy                                                   Contingent
          106 Appleton St.                                                    Unliquidated
          Boston, MA 02116                                                    Disputed
          Date(s) debt was incurred 9/30/2020
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,769.60
          Ramp Business Corporation                                           Contingent
          71 5th Avenue, 6th Floor                                            Unliquidated
          New York, NY 10003                                                  Disputed
          Date(s) debt was incurred 12/17/21 to 02/27/2022
                                                                             Basis for the claim: Credit Card
          Last 4 digits of account
          number Foodspace Technology, LLC                                   Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,848.81
          Republic First Bank DBA Republic Bank                               Contingent
          Two Liberty Place 50                                                Unliquidated
          S. 16th St., Suite 2400                                             Disputed
          Philadelphia, PA 19102
                                                                             Basis for the claim: PPP loan
          Date(s) debt was incurred 5/17/2020
          Last 4 digits of account number 7407                               Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Republic First Bank DBA Republic Bank                               Contingent
          Two Libert Place 50                                                 Unliquidated
          S. 16th St., Suite 2400                                             Disputed
          Philadelphia, PA 19102
                                                                             Basis for the claim: PPP loan
          Date(s) debt was incurred 3/10/2021
          Last 4 digits of account number 8510                               Is the claim subject to offset?    No  Yes




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 Debtor       Foodspace Technology, Inc.                                                              Case number (if known)            22-10884
              Name

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Robert Lacour Mitchell                                              Contingent
          1584 Timberland Rd. NE                                              Unliquidated
          Atlanta, GA 30345-4163                                              Disputed
          Date(s) debt was incurred 9/5/2020
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,090.41
          Robert Lacour Mitchell                                              Contingent
          1584 Timberland Rd. NE                                              Unliquidated
          Atlanta, GA 30345-4163                                              Disputed
          Date(s) debt was incurred 05/01/2018
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,000.00
          Rosenheim Advisors                                                  Contingent
          352 Sheffield St.                                                   Unliquidated
          Staten Island, NY 10310                                             Disputed
          Date(s) debt was incurred 05/31/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,000.00
          Salesforce.com                                                      Contingent
          PO Box 203141                                                       Unliquidated
          Dallas, TX 75320-3141                                               Disputed
          Date(s) debt was incurred 08/03/2021
                                                                             Basis for the claim: Service fee
          Last 4 digits of account number 5846
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,000.00
          Saloni Setia                                                        Contingent
          73 East 3rd St., #D3                                                Unliquidated
          New York, NY 10003                                                  Disputed
          Date(s) debt was incurred 05/11/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,895.00
          Sherin and Lodgen, LLP                                              Contingent
          100 Federal St.                                                     Unliquidated
          Boston, MA 02110                                                    Disputed
          Date(s) debt was incurred 12/09/2021
                                                                             Basis for the claim: Service fees
          Last 4 digits of account number 1148
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,848.81
          Small Business Administration
          National Guaranty Purchase Center                                   Contingent
          1145 Herndon Parkway, Suite 900                                     Unliquidated
          Herndon                                                             Disputed
          Herndon, VA 20170
                                                                             Basis for the claim: PPP Loan
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Foodspace Technology, Inc.                                                              Case number (if known)            22-10884
              Name

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,625.00
          Snowflake                                                           Contingent
          Suite 3A,                                                           Unliquidated
          106 East Babcock Street                                             Disputed
          Bozeman, MT 59715
                                                                             Basis for the claim: Service fees
          Date(s) debt was incurred 12/1/2022
          Last 4 digits of account number Foodspace                          Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,750.00
          Storyhackers, LLC                                                   Contingent
          548 market St. 79631                                                Unliquidated
          San Francisco, CA 94104-5401                                        Disputed
          Date(s) debt was incurred 12/01/2021
                                                                             Basis for the claim: Service fees
          Last 4 digits of account
          number Foodspace Technology                                        Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $31,920.55
          Sugar Mountain Capital, LLC                                         Contingent
          1725 Westlake Ave. N, Suite 200                                     Unliquidated
          Seattle, WA 98109                                                   Disputed
          Date(s) debt was incurred 06/01/2018
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Thomas J Medrek 2004 Revocable Trust                                Contingent
          8 Lancaster Rd.                                                     Unliquidated
          Windham, NH 03087                                                   Disputed
          Date(s) debt was incurred 02/16/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,000.00
          Thomas J Medrek 2004 Revocable Trust                                Contingent
          1562 Sherman Ave, Ste. 200                                          Unliquidated
          Evanston, IL 60201                                                  Disputed
          Date(s) debt was incurred 06/02/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,673.91
          United Health Care                                                  Contingent
          PO Box 30555                                                        Unliquidated
          Salt Lake City, UT 84130-0567                                       Disputed
          Date(s) debt was incurred 03/01/2022
                                                                             Basis for the claim: Service fees
          Last 4 digits of account number 1590
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $27,000.00
          Unity Technologies ApS                                              Contingent
          30 3rd Street                                                       Unliquidated
          San Francisco, CA 94103                                             Disputed
          Date(s) debt was incurred 02/01/2022
                                                                             Basis for the claim: Service fees
          Last 4 digits of account number 0427
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Foodspace Technology, Inc.                                                              Case number (if known)            22-10884
              Name

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,125.00
          UpNext Leadership Coaching, LLC                                     Contingent
          121 High Ridge Ave.                                                 Unliquidated
          Ridgefield, CT 06877                                                Disputed
          Date(s) debt was incurred 12/01/2021
                                                                             Basis for the claim: Service Fees
          Last 4 digits of account
          number Foodspace Technology                                        Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,600.00
          UPQODE, LLC                                                         Contingent
          41 Peabody St.                                                      Unliquidated
          Nashville, TN 37210                                                 Disputed
          Date(s) debt was incurred 11/30/2021
                                                                             Basis for the claim: Service fees
          Last 4 digits of account number 2254
                                                                             Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $250,000.00
          Vitality Capital, LLC                                               Contingent
          1563 Sherman Ave, Ste. 200                                          Unliquidated
          Evanston, IL 60201                                                  Disputed
          Date(s) debt was incurred 08/17/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15.45
          Vouch Insurance                                                     Contingent
          831 Montgomery Street                                               Unliquidated
          San Francisco, CA 94133                                             Disputed
          Date(s) debt was incurred 4/6/2022
                                                                             Basis for the claim: Services
          Last 4 digits of account
          number Foodspace Technology, Inc                                   Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Whipstick Ventures, LLC                                             Contingent
          120 High Ridge Ave,                                                 Unliquidated
          Ridgefield, CT 06877                                                Disputed
          Date(s) debt was incurred 10/05/2020
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $29,252.05
          Whipstick Ventures, LLC                                             Contingent
          121 High Ridge Ave.                                                 Unliquidated
          Ridgefield, CT 06877                                                Disputed
          Date(s) debt was incurred 10/01/2019
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,473.97
          Whipstick Ventures, LLC                                             Contingent
          122 High Ridge Ave.                                                 Unliquidated
          Ridgefield, CT 06877                                                Disputed
          Date(s) debt was incurred 02/20/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Foodspace Technology, Inc.                                                              Case number (if known)            22-10884
              Name

 3.80      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $25,000.00
           WindWard Family, LLC                                               Contingent
           PO Box 760                                                         Unliquidated
           Groton, MA 01450                                                   Disputed
           Date(s) debt was incurred 03/04/2021
                                                                             Basis for the claim: SAFE
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.81      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $225,000.00
           Winward Family, LLC                                                Contingent
           PO Box 760                                                         Unliquidated
           Harvard, MA 01451                                                  Disputed
           Date(s) debt was incurred 06/04/2021
                                                                             Basis for the claim: SAFE
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.82      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $10,232.33
           Yana Galukhina                                                     Contingent
           38 Munroe Rd.                                                      Unliquidated
           Lexington, MA 02421                                                Disputed
           Date(s) debt was incurred 08/01/2021
                                                                             Basis for the claim: SAFE
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                        9,458.00
 5b. Total claims from Part 2                                                                            5b.    +   $                    3,297,146.48

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        3,306,604.48




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